Case 1:19-mj-00195-DAR Document2 Filed 07/24/19 Page 1 of 1

AO 442 (Kev. 01/09) Arrest Warrant — —

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America

 

Vv ) Case: 19-mj-195
Rebecca Gabriel Kanter ) Assigned To: Judge Deborah A. Robinson
) Assign. Date: 7/24/2019
) Description: Criminal Complaint wiArrest Warrant
— )
Defendant F I L E D
ARREST WARRANT JUL 24 2019
To: Any authorized law enforcement officer Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) :

 

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment C1 Superseding Indictment O Information C1 Superseding Information a Complaint
O Probation Violation Petition C1 Supervised Release Violation Petition [Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 970(a) Willfully injuring and damaging property of a foreign government
18 U.S.C. § 970(b)(2) Refusing to depart a foreign embassy

: 07/24/2019 ae LynVe gt
Date a Vl € —

Issuing officer's signature
Deborah A. Robinson
City and state: | Washington, DC / - __United States Magistrate Judas

 

Printed name and title

 

Return

 

This warrant was received on (date) —__ 7/2 4/14 and the person was arrested on (date) cs / 23 /14

al (city and state) ike HN Ton! ) De : 1
Date: T/24 [14 a ibe Uj

Arresiéig officer's signature

When Ayes Orrnen

Printed name and title

 

 

 
